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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

             PLAINTIFF,
                                            HON. JUDITH E. LEVY
 V.
                                            CASE NO. 21-20510
 D-9 SHARONDA GRIFFIN,

             DEFENDANT.
                                        /

                                Plea Agreement
      The United States of America and the defendant, Sharonda Griffin, have

reached a plea agreement under Federal Rule of Criminal Procedure 11. The plea

agreement’s terms are:

1.    Counts of Conviction

      The defendant will plead guilty to Count 1 and Count 3 of the superseding

indictment. Count 1 charges the defendant with conspiracy to commit wire fraud

under 18 U.S.C. § 1349. Count 3 charges the defendant with aggravated identity

theft, aiding and abetting, under 18 U.S.C. §§ 1028A(a)(1), 2.

2.    Statutory Minimum and Maximum Penalties

      The defendant understands that the counts to which she is pleading guilty

carry the following minimum and maximum statutory penalties:



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 Count 1        Term of imprisonment:               Up to 20 years

                Fine:                               Up to $250,000

                Term of supervised release:         Up to 3 years

 Count 3        Term of imprisonment:               Mandatory 2 years,
                                                    consecutive to any other
                                                    sentence
                Fine:                               Up to $250,000

                Term of supervised release:         Up to 1 year


      The defendant understands that Count 3 requires a mandatory sentence of 2

years’ imprisonment, to run consecutively to her sentence of imprisonment on any

other count of conviction, and that the Court may not impose a sentence on that

count below the mandatory minimum.

3.    Elements of Count of Conviction

      The elements of Count 1 are:

           a. Conspiracy to Commit Wire Fraud (18 U.S.C. § 1349)
                 i. Two or more persons agreed to try to accomplish a common
                    and unlawful plan to commit wire fraud.
                ii. The defendant knowingly and voluntarily joined the conspiracy.
           b. Wire Fraud (18 U.S.C. § 1343)
                 i. The defendant or a co-conspirator devised a scheme to defraud
                    or to obtain money or property by materially false or fraudulent
                    pretenses, representations or promises;



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                    ii. The scheme included a material misrepresentation or
                        concealment of a material fact;
                iii. The defendant or a co-conspirator acted with the intent to
                     defraud; and
                iv. In advancing, furthering, or carrying out the scheme, the
                    defendant or a co-conspirator transmitted any writing, signal, or
                    sound by means of a wire, radio, or television communication
                    in interstate commerce or caused the transmission of any
                    writing, signal, or sound of some kind by means of a wire,
                    radio, or television communication in interstate commerce.
             The elements of Count 3 are:

               i.      That the defendant committed the felony violation charged in
                       Count 1. The violation charged in count 1 is a felony violation
                       listed in 18 U.S.C. § 1028A.
              ii.      That the defendant, while aided and abetted by others, knowingly
                       transferred, possessed, or used a means of identification of
                       another person without lawful authority.
             iii.      That the defendant knew the means of identification belonged to
                       another person.
             iv.       That the transfer, possession, or use was during and in relation to
                       the crime charged in Count 1.
4.    Factual Basis

      The parties agree that the following facts are true, accurately describe the

defendant’s role in the offense, and provide a sufficient factual basis for the

defendant’s guilty plea:

      With respect to Count 1:

      Beginning on or about February 1, 2020, through and including January 26,

2021, in the Eastern District of Michigan and elsewhere, Sharodney Harrison

devised a scheme to obtain money by materially false and fraudulent pretenses and

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representations, namely to defraud unemployment insurance agencies in several

states and the federal government by filing fraudulent unemployment insurance

(UI) claims. The scheme involved material misrepresentations and concealment of

material facts, in that Harrison and his co-conspirators, with the intent to defraud,

used the personal information of individuals without their knowledge or consent,

or who were not eligible to receive UI benefits, or both. Harrison conspired with

other individuals, including the defendant, Sharonda Griffin, to knowingly assist

with and participate in his scheme.

      In furtherance of this scheme, Harrison, Griffin, and the other defendants

communicated via text message and telephone and met in person, often while in

the Eastern District of Michigan. Specifically, Harrison, Griffin, and their co-

conspirators communicated via text message to discuss their filing and certification

of fraudulent UI claims in various states, and shared tips for how and where to file

fraudulent UI claims. One of Griffin’s roles in the scheme was to create email

accounts using names of real victims that were used to file the fraudulent UI

claims. In total, Griffin personally filed or caused to be filed approximately 53

fraudulent UI claims with state UI agencies in Arizona, California, Michigan, and

Montana.

      As a result of fraudulent claims filed by the defendant and her co-

conspirators, wire transmissions were sent from the state of Michigan to data

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centers in other states to direct payment of unemployment benefits to the purported

claimants. Also as a result of the scheme, state agencies located outside the state of

Michigan sent wire transmissions to data centers located in other states to direct

payment of unemployment benefits to the purported claimants. Payments from the

state agencies were often by means of a debit card that was mailed to the

defendant’s or her co-conspirators’ addresses, or another address designated in the

fraudulent claim. In carrying out this scheme, the defendant and her co-

conspirators acted with the intent to defraud the state agencies, and concealed or

misrepresented material facts in filing the fraudulent claims, namely that the

defendant was not the purported claimant and was not authorized to file a claim on

behalf of the purported claimant.

      Approximately 450 fraudulent UI claims filed in 19 different states have

been tied to the conspiracy, with an actual loss of $1,471,599, and a maximum

intended loss amount of $4,997,672.

      With respect to Count 3:

      In furtherance of the conspiracy to commit wire fraud charged in Count 1,

while in the Eastern District of Michigan, Griffin while aided and abetted by

Sharodney Harrison, without lawful authority, knowingly transferred, possessed,

and used a means of identification of victim S.C.—S.C.’s name, date of birth, and

social security number—knowing that the means of identification belonged to a

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real person. Victim S.C. did not authorize Griffin or Harrison to transfer, possess,

or use her name, date of birth, or social security number.

5.    Advice of Rights

      The defendant has read the superseding indictment, has discussed the

charges and possible defenses with her attorney, and understands the crimes

charged. The defendant understands that, by pleading guilty, she is waiving many

important rights, including the following:

      A.     The right to plead not guilty and to persist in that plea;

      B.     The right to a speedy and public trial by jury;

      C.     The right to be represented by counsel—and, if necessary, have the

      court appoint counsel—at trial;

      D.     The right to be presumed innocent and to require the government to

      prove the defendant guilty beyond a reasonable doubt at trial;

      E.     The right to confront and cross-examine adverse witnesses at trial;

      F.     The right to testify or not to testify at trial, whichever the defendant

      chooses;

      G.     If the defendant chooses not to testify at trial, the right to have the jury

      informed that it may not treat that choice as evidence of guilt;

      H.     The right to present evidence or not to present evidence at trial,

      whichever the defendant chooses; and


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      I.     The right to compel the attendance of witnesses at trial.

6.    Collateral Consequences of Conviction

      The defendant understands that her conviction here may carry additional

consequences under federal or state law. The defendant understands that, if she is

not a United States citizen, her conviction here may require her to be removed

from the United States, denied citizenship, and denied admission to the United

States in the future. The defendant further understands that the additional

consequences of her conviction here may include, but are not limited to, adverse

effects on the defendant’s immigration status, naturalized citizenship, right to vote,

right to carry a firearm, right to serve on a jury, and ability to hold certain licenses

or to be employed in certain fields. The defendant understands that no one,

including the defendant’s attorney or the Court, can predict to a certainty what the

additional consequences of the defendant’s conviction might be. The defendant

nevertheless affirms that the defendant chooses to plead guilty regardless of any

immigration or other consequences from her conviction.

7.    Defendant’s Guideline Range

      A.     Court’s Determination

      The Court will determine the defendant’s guideline range at sentencing.




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      B.     Acceptance of Responsibility

      The government recommends under Federal Rule of Criminal Procedure

11(c)(1)(B) that the defendant receive a two-level reduction for acceptance of

responsibility under USSG § 3E1.1(a) Further, if the defendant’s offense level is

16 or greater and the defendant is awarded the two-level reduction under USSG

§ 3E1.1(a), the government recommends that the defendant receive an additional

one-level reduction for acceptance of responsibility under USSG § 3E1.1(b). If,

however, the government learns that the defendant has engaged in any conduct

inconsistent with acceptance of responsibility—including, but not limited to,

making any false statement to, or withholding information from, her probation

officer; obstructing justice in any way; denying her guilt on the offense to which

she is pleading guilty; committing additional crimes after pleading guilty; or

otherwise demonstrating a lack of acceptance of responsibility as defined in USSG

§ 3E1.1—the government will be released from its obligations under this

paragraph, will be free to argue that the defendant not receive any reduction for

acceptance of responsibility under USSG § 3E1.1, and will be free to argue that the

defendant receive an enhancement for obstruction of justice under USSG § 3C1.1.

      C.     Other Guideline Recommendations

      The parties also recommend under Federal Rule of Criminal Procedure

11(c)(1)(B) that the following guideline provisions apply:


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 USSG § 2B1.1(a)(1)                         Fraud base offense level

 USSG § 2B1.1(b)(1)(H)                      Loss over $550,000

 USSG § 2B1.1(b)(2)(A)(i)                   10 or more victims


      D.      Factual Stipulations for Sentencing Purposes

      The parties stipulate that the following facts are true and that the Court may,

but is not required to, rely on them in calculating the defendant’s guideline range

and imposing sentence:

           1. The actual loss to state agencies associated with the conspiracy is

              $1,471,599, and the maximum intended loss is $4,997,672.

           2. The defendant and her co-conspirators used the identities of more than

              ten people without their authorization to file fraudulent unemployment

              insurance claims.

      E.      Parties’ Obligations

      Both the defendant and the government agree not to take any position or

make any statement that is inconsistent with any of the guideline recommendations

or factual stipulations in paragraphs 7.B, 7.C, or 7.D. Neither party is otherwise

restricted in what it may argue or present to the Court as to the defendant’s

guideline calculation.




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      F.    Not a Basis to Withdraw

      The defendant understands that she will have no right to withdraw from this

agreement or withdraw her guilty plea if she disagrees, in any way, with the

guideline range determined by the Court, even if that guideline range does not

incorporate the parties’ recommendations or factual stipulations in paragraphs 7.B,

7.C, or 7.D. The government likewise has no right to withdraw from this

agreement if it disagrees with the guideline range determined by the Court.

8.    Imposition of Sentence

      A.    Court’s Obligation

      The defendant understands that in determining her sentence, the Court must

calculate the applicable guideline range at sentencing and must consider that range,

any possible departures under the sentencing guidelines, and the sentencing factors

listed in 18 U.S.C. § 3553(a), and apply any applicable mandatory minimums.

      B.    Imprisonment

            1.     Recommendation

      Under Federal Rule of Criminal Procedure 11(c)(1)(B), the government

recommends that the defendant’s sentence of imprisonment not exceed the

midpoint of the defendant’s guideline range as determined by the Court.




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             2.    No Right to Withdraw

      The government’s recommendation in paragraph 8.B.1 is not binding on the

Court. The defendant understands that she will have no right to withdraw from this

agreement or withdraw her guilty plea if the Court decides not to follow the

government’s recommendation. The government likewise has no right to withdraw

from this agreement if the Court decides not to follow the government’s

recommendation. If however, the Court rejects or purports to reject any other term

or terms of this plea agreement, the government will be permitted to withdraw

from the agreement.

      C.     Supervised Release

             1.    Recommendation

      Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties

recommend that the Court impose a two-year term of supervised release.

             2.    No Right to Withdraw

      The parties’ recommendation is not binding on the Court. The defendant

understands that she will have no right to withdraw from this agreement or

withdraw her guilty plea if the Court decides not to follow the parties’

recommendation. The defendant also understands that the government’s

recommendation concerning the length of the defendant’s sentence of

imprisonment, as described above in paragraph 8.B.1, will not apply to or limit any


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term of imprisonment that results from any later revocation of the defendant’s

supervised release.

        D.    Fines

        There is no recommendation or agreement as to a fine.

        E.    Restitution

        The Court must order restitution to every identifiable victim of the

defendant’s offense. The court will determine at sentencing who the victims are

and the amounts they are owed. The government recommends that the defendant

shall be jointly and severally liable for and shall receive credit on this restitution

obligation for payments made by other defendants who are found to have

contributed to the same loss that gave rise to defendant’s restitution obligation. If

no other defendants are found to have contributed to the same loss as identified

here, then defendant shall be solely responsible for this restitution obligation.

        The defendant agrees that restitution is due and payable immediately after

the judgment is entered and is subject to immediate enforcement, in full, by the

United States. 18 U.S.C. §§ 3612(c) and 3613. If the Court imposes a schedule of

payments, the defendant agrees that the schedule of payments is a schedule of the

minimum payment due, and that the payment schedule does not prohibit or limit

the methods by which the United States may immediately enforce the judgment in

full.


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      The defendant agrees to make a full presentence disclosure of her financial

status to the United States Attorney’s Office by completing a Financial Disclosure

Form and the accompanying releases for the purpose of determining her ability to

pay restitution and/or a forfeiture money judgment. The defendant agrees to

complete and return the Financial Disclosure Form within three weeks of receiving

it from government counsel. The defendant agrees to participate in a presentencing

debtor’s examination if requested to do so by government counsel.

      F.     Forfeiture

      Pursuant to Fed. R. Crim. P. 32.2, 18 U.S.C. § 981(a)(1)(C) together with 28

U.S.C. § 2461, the defendant agrees to forfeit to the United States any and all

property, real or personal, which constitutes proceeds obtained or derived, directly

or indirectly, from the defendant’s violation of 18 U.S.C. § 1349 as charged in

Count One of the superseding indictment.

      The defendant also agrees, pursuant to Fed. R. Crim. P. 32.2, 18 U.S.C.

§ 981(a)(1)(C) and 28 U.S.C. § 2461, to the entry of a personal forfeiture money

judgment against her in favor of the United States the amount of $91,974, which

represents the amount of proceeds the defendant obtained or derived, directly or

indirectly, from her violation of 18 U.S.C. § 1349.

      The defendant agrees that the forfeiture money judgment may be satisfied, to

whatever extent possible, from any property owned or under the control of the


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defendant. To satisfy the money judgment, the defendant explicitly agrees to the

forfeiture of any assets she has now, or may later acquire, as substitute assets under

21 U.S.C. § 853(p)(2) and waives and relinquishes her rights to oppose the

forfeiture of substitute assets under 21 U.S.C. § 853(p)(1) or otherwise.

      The defendant agrees to the entry of one or more orders of forfeiture,

including a Preliminary Order of Forfeiture, containing the above referenced

forfeiture of proceeds and the forfeiture money judgment, upon application by the

United States at, or any time before, her sentencing in this case. The defendant

agrees to sign such an order, indicating she consents to its entry if requested to do

so by the government. The defendant agrees that the forfeiture order will be final

and effective as to her upon entry by the Court.

      The defendant waives her right to have a jury determine the forfeitability of

her interest in the above identified property as provided by Rule 32.2(b)(5) of the

Federal Rules of Criminal Procedure.

      The defendant waives the requirements of Federal Rules of Criminal

Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging

instrument, pronouncement of the forfeiture at sentencing, and incorporation of the

forfeiture in the judgment. The defendant acknowledges that she understands that

the forfeiture of property is part of the sentence that may be imposed in this case




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and waives any failure by the Court to advise her of this, pursuant to Rule

11(b)(1)(J), at the time her guilty plea is accepted.

      The defendant agrees to hold the United States, its agents and employees

harmless from any claims whatsoever in connection with the seizure and/or

forfeiture of property covered by this Plea Agreement.

      The defendant knowingly, voluntarily, and intelligently waives any statutory

and constitutional challenge to the above-described forfeiture including any

challenge based upon the Excessive Fines Clause of the Eighth Amendment to the

United States Constitution.

      G.     Special Assessment

      The defendant understands that she will be required to pay a special

assessment of $200.00, due immediately upon sentencing.

9.    Appeal Waiver

      The defendant waives any right she may have to appeal her conviction on

any grounds. If the defendant’s sentence of imprisonment does not exceed the top

of the guideline range determined by the Court, the defendant also waives any right

she may have to appeal her sentence on any grounds.

10.   Collateral Review Waiver

      The defendant retains the right to raise claims alleging ineffective assistance

of counsel or prosecutorial misconduct, as long as the defendant properly raises


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those claims by collateral review under 28 U.S.C. § 2255. The defendant also

retains the right to pursue any relief permitted under 18 U.S.C. § 3582(c), as long

as the defendant properly files a motion under that section. The defendant,

however, waives any other right she may have to challenge her conviction or

sentence by collateral review, including, but not limited to, any right she may have

to challenge her conviction or sentence on any grounds under 28 U.S.C. § 2255

(except for properly raised ineffective assistance of counsel or prosecutorial

misconduct claims, as described above), 28 U.S.C. § 2241, or Federal Rule of Civil

Procedure 59 or 60.

11.   Consequences of Withdrawal of Guilty Plea or Vacation of Judgment

      If the defendant is allowed to withdraw her guilty plea, or if the defendant’s

conviction or sentence under this agreement is vacated, the government may

reinstate any charges against the defendant that were dismissed as part of this

agreement and may file additional charges against the defendant relating, directly

or indirectly, to any of the conduct underlying the defendant’s guilty plea or any

relevant conduct. If the government reinstates any charges or files any additional

charges as permitted by this paragraph, the defendant waives her right to challenge

those charges on the ground that they were not filed in a timely manner, including

any claim that they were filed after the limitations period expired.




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12.   Use of Withdrawn Guilty Plea

      The defendant agrees that if she is permitted to withdraw her guilty plea for

any reason, she waives all of her rights under Federal Rule of Evidence 410, and

the government may use her guilty plea, any statement that the defendant made at

her guilty plea hearing, and the factual basis set forth in this agreement, against the

defendant in any proceeding.

13.   Parties to Plea Agreement

      This agreement does not bind any government agency except the United

States Attorney’s Office for the Eastern District of Michigan.

14.   Scope of Plea Agreement

      This plea agreement is the complete agreement between the parties and

supersedes any other promises, representations, understandings, or agreements

between the parties concerning the subject matter of this agreement that were made

at any time before the guilty plea is entered in court. Thus, no oral or written

promises made by the government to the defendant or to the attorney for the

defendant at any time before the defendant pleads guilty are binding except to the

extent they have been explicitly incorporated into this plea agreement. If the parties

have entered, or subsequently enter, into a written proffer or cooperation

agreement, though, this plea agreement does not supersede or abrogate the terms of

that agreement. This plea agreement also does not prevent any civil or


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administrative actions against the defendant, or any forfeiture claim against any

property, by the United States or any other party.

15.   Acceptance of Agreement by Defendant

      The government may withdraw from this agreement at any time before the

defendant pleads guilty.

                                             DAWN N. ISON
                                             UNITED STATES ATTORNEY



 John K. Neal                                Meghan Sweeney Bean
 Chief, White Collar Crime Unit              Assistant United States Attorney
 Assistant United States Attorney


Dated: March 1, 2023




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